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                 EXHIBIT A
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  SERVICE AGREEMENT – MOBILE TICKETING SYSTEM FOR PARK & RIDE COMMUTER BUS
 SERVICE
 (the “Agreement”)
Contract Number C-2022-0039 MASABI, LLC    THE WOODLANDS TOWNSHIP,
A DELAWARE CORPORATION, REGISTERED TO DO   A SPECIAL PURPOSE DISTRICT AND POLITICAL
BUSINESS IN NEW YORK AS A FOREIGN LIMITED  SUBDIVISION OF THE STATE OF TEXAS, DULY CREATED
LIABILITY CORPORATION.                     AND OPERATING PURSUANT TO CHAPTER 289, ACTS
                                           OF THE 73RD TEXAS LEGISLATURE, REGULAR SESSION,
                                           1993, AS AMENDED.
Contact Name: Chip Whitman                 Contact Name: Ruthanne Haut
Title: Senior Account Manager              Title: Deputy Director - Community Services
Physical Delivery Address                  Physical Delivery Address
1330 Avenue of the Americas                2801 Technology Forest Blvd.
Suite 23A                                  The Woodlands, TX 77381
New York, NY 10019
Mailing Address (if different)
Telephone:978-888-7662                     Telephone: 281 210-3800
Facsimile:                                 Facsimile:
E-mail: chip.whitman@masabi.com            E-mail: rhaut@thewoodlandstownship-tx.gov
Tax ID Number: XX-XXXXXXX
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                 EXHIBIT B
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Shortcut Software Company
201 Allen Street, Unit #10004
New York, NY 10002 US
+1 9173824291
accounting@shortcut.com
www.shortcut.com

INVOICE
BILL TO                                                                   INVOICE # 1856
Masabi Ltd.                                                                   DATE 11/01/2022
37 Bevenden Street                                                        DUE DATE 12/01/2022
London                                                                       TERMS Net 30
N1 6BH
United Kingdom




 DATE                                     DESCRIPTION                     QTY       RATE        AMOUNT

                  Subscription - Annual   1 added seat, 170 total            1
                                          (10/5/2022 - 1/31/2023)
                  Subscription - Annual   1 added seat, 171 total            1
                                          (10/14/2022 - 1/31/2023)
                  Subscription - Annual   1 added seat, 172 total            1
                                          (10/18/2022 - 1/31/2023)


                                                            BALANCE DUE
Banking information:
                                                                                      USD
Acct Name: Shortcut Software Company


Bank Name: Silicon Valley Bank
Bank Address:
3003 Tasman Drive
Santa Clara, CA 95054


Routing #:
Acct #:
SWIFT:


Bill.com Payment Network ID:
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